                                No. 24-1204

              UNITED STATES COURT OF APPEALS
                  FOR THE EIGHTH CIRCUIT

                   ANDERSON & KOCH FORD, INC.

                                                Plaintiff-Appellant,

                                      v.

                        FORD MOTOR COMPANY

                                                Defendant-Appellee.


              Appeal from the United States District Court
                      for the District of Minnesota
                         Case No. 0:23-cv-00762
                The Honorable Judge Jeffrey M. Bryan


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                            Summary of the Case

     Appellant Anderson & Koch Ford, Inc.’s (“Anderson”) statement of

the case omits the heart of the district court’s opinion: that Anderson

could challenge Ford’s modification of Anderson’s “Dealer’s Locality”

area of responsibility under the Minnesota Motor Vehicle Sale and

Distribution Act (“MVSDA”), but that it could not challenge Ford’s

distinct decision to approve a new dealership because Anderson is,

among other things, ineligible for that relief under the specific provision

of the MVSDA addressing limitations on establishing new dealerships.

     Anderson thus could have sought relief for changes to the

“Dealer’s Locality” it discusses in its summary of the case. But its true

goal is to stop Ford’s approval of a new dealership. It thus dismissed its

Dealer’s Locality claims so it could appeal the part of the district court’s

order dismissing its challenge to the approval of a new dealership. The

court’s order is consistent with well-established Minnesota and federal

law involving the interpretation of distinct portions of a comprehensive

remedial scheme. It is also consistent with other states’ cases involving

this specific fact pattern. The judgment should be affirmed on the

papers, but if argument is granted, 10 minutes per side is enough.




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                   Corporate Disclosure Statement

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

Ford Motor Company makes the following disclosure:

     (1) Ford Motor Company has no parent corporation; and

     (2) No publicly held corporation owns 10% or more of its stock.




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                       Jurisdictional Statement

     The district court had removal jurisdiction over this action (filed

in Minnesota state court) under 28 U.S.C. § 1441(b) because the district

court would have had original jurisdiction over the suit under 28 U.S.C.

§ 1332 based on complete diversity of citizenship between (1) Plaintiff

Anderson & Koch Ford, Inc., a citizen of Minnesota; and (2) Ford Motor

Company, a citizen of Michigan and Delaware.

     As explained in detail in Ford’s Motion to Dismiss Appeal for Lack

of Appellate Jurisdiction, this Court lacks jurisdiction over this appeal.

Anderson is attempting to appeal a non-final order of the district court

in circumvention of Federal Rule of Civil Procedure 54(b) by voluntarily

dismissing without prejudice all the claims left intact after the district

court’s partial grant of Ford’s motion to dismiss—claims Anderson

intends to reinstate post-appeal.

     On March 25, 2024, this Court ordered that Ford’s Motion to

Dismiss Appeal for Lack of Appellate Jurisdiction will be resolved by

the merits panel. Ford thus does not repeat its jurisdictional arguments

here, but rests on the arguments contained in its motion.




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            Statement of Issues Presented for Review

1. Does the Court lack jurisdiction over this appeal for the reasons set

  forth in Ford’s pending Motion to Dismiss Appeal for Lack of

  Appellate Jurisdiction?

  Apposite Authority (set forth in the motion):

      In re Mun. Stormwater Pond Coordinated Litig., 73 F.4th 975,

        (8th Cir. 2023).

2. Anderson seeks to block Ford’s approval of a new dealership under

  two provisions of the Minnesota Motor Vehicle Sale and

  Distribution Act (“MVSDA”) concerning manufacturer changes to a

  dealer’s contract and to a dealer’s “area of responsibility.” The

  district court dismissed Anderson’s complaint with respect to its

  new-dealership claims, holding Anderson did not plead facts

  plausibly alleging that Ford’s approval of a new dealership required

  such changes. Should the district court’s decision be affirmed?

  Apposite Authority:

      K.T. v. Culver-Stockton Coll., 865 F.3d 1054 (8th Cir. 2017)

        (setting forth matters that are part of the 12(b)(6) record).




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      Minn. Stat. § 80E.13(k), (p)

3. The MVSDA has a specific section concerning limitations on a

  manufacturer’s establishment of a new dealership. Anderson is

  admittedly ineligible for relief under that section, both substantively

  and procedurally. The district court held that Anderson may not

  circumvent the MVSDA’s specific provisions addressing limitations

  on approval of new dealerships by resort to other, off-topic portions

  of the statute. Should the district court’s decision be affirmed?

  Apposite Authority:

      Connexus Energy v. Comm’r of Revenue, 868 N.W.2d 234

         (Minn. 2015).

      Koehnen v. Flagship Marine Co., 947 N.W.2d 448 (Minn. 2020)

      Parktown Imports Inc. v Audi of America, Inc., 278 S.W.3d 670

         (Mo. 2009)

      American Honda Motor Co. v. Bernardi’s, Inc., 735 N.E.2d 348

         (Mass. 2000)

        Minn. Stat. § 80E.14.



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                            Statement of the Case

      A.    Factual Background. Plaintiff-Appellant Anderson &

Koch Ford is a Ford dealership in North Branch, Minnesota. App. 14, R.

Doc. 1-1, at 7. Anderson and Ford’s relationship is governed by a Sales

and Service Agreement (“Agreement”). App. 14-15, R. Doc. 1-1, at 7-8.

The Agreement defines Anderson’s “Dealer’s Locality” as the “area of

the Dealer’s sales and service responsibility for” Ford products. App. 8

& 34, R. Doc. 1-1, at 8 & 27. The assignment of a Dealer Locality does

not, however, make the dealership the sole entity allowed to sell Ford

vehicles inside that locality. See App. 35 ¶ 2(a) (“the Dealer shall not be

limited to the DEALER’S LOCALITY in making sales”), R. Doc. 1-1, at

28. And the Agreement indicates that more than one dealer might be

assigned to a particular Dealer’s Locality, setting forth a formula for

assessing performance in such cases. App. 35 ¶ 2(a)(2). The Agreement

gives Ford express discretion to modify the Dealer’s Locality from time

to time. App. 34 at ¶ 1(j), R. Doc. 1-1, at 27.

      The Agreement also states that Ford has the “right to appoint

additional dealers… within or without the DEALER’S LOCALITY.”

App. 45, R. Doc. 1-1, at 38. For new dealerships more than “ten (10)


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miles driving distance of the Dealer’s principal place of business,” Ford

does not have to notify Anderson of the approval. Id. As Anderson’s

counsel conceded, this provision gives Ford “carte blanche to insert

additional dealers….” App. 397.

     As of 2022, Anderson’s Dealer Locality included 18 census tracts

in and around North Branch. App. 17 ¶ 23, R. Doc. 1-1, at 10. Ford

notified Anderson on November 30, 2022 that the Dealer’s Locality

would be modified in 90 days, with 9 of the 18 tracts removed from the

Dealer’s Locality. App. 17-18 ¶ 24 & App. 81-85, R. Doc. 1-1, at 11-12 &

74-78. Anderson alleges that Ford intends to assign these tracts to the

Dealer Locality of a new Ford dealership in Forest Lake, Minnesota.

App. 16-17 at ¶ 22 & App. 87, R. Doc. 1-1, at 9-10 & 80. The Forest Lake

dealership will be about 20 miles from Anderson’s dealership. See id.

     Anderson objected, in writing, to the proposed change to the

Dealer’s Locality and objected to Ford approving a new dealership in

Forest Lake, demanding that Ford rescind both decisions. App. 18 ¶¶

26-27, R. Doc. 1-1, at 11. Ford refused to do so. Id.

     B.    Procedural Background. Anderson filed this lawsuit in

state court on February 28, 2023. App. 12, R. Doc. 1-1, at 5. Anderson


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sought to enjoin Ford’s proposed changes to the Dealer’s Locality and

Ford’s plan to approve the new proposed dealership. App. 24-28 ¶¶ 50,

56, 62, 67, 73, R. Doc. 1-1, at 17-21. It also sought monetary relief. See

id. The lawsuit had four counts: violation of the Motor Vehicle Sale and

Distribution Act (“MVSDA”) by unfairly modifying a franchise under

Minn. Stat. § 80E.13(k); an MVSDA count for arbitrarily assigning an

area of sales effectiveness under § 80E.13(p); declaratory judgment; and

breach of the implied covenant of good faith and fair dealing. See id.

     Ford removed the case to federal court. App. 7, R. Doc. 1. It then

moved to dismiss all the claims, but mainly challenged Anderson’s

attempt to block the establishment of a new Ford dealership without

following the sole avenue for such a challenge under Minnesota law (set

forth in Minn. Stat. § 80E.14.) App. 126-135, R. Doc. 15, at 1-10.

     On November 30, 2023, the district court granted Ford’s motion in

part and denied it in part. R. Doc. 33, at 9. It noted Anderson’s “primary

goal in filing this lawsuit is to block the establishment of the new (and

competing) Ford dealership in Forest Lake.” App. 357, R. 33, at 4. It

noted that Anderson “has not, however, invoked § 80E.14, undoubtedly

because” that section—which only gives a dealer the right to challenge


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new dealerships within 10 miles of an existing dealership—”plainly

does not give [Anderson] the right to block Ford’s proposed new

dealership.” App. 358, R. 33, at 5. The district court then held that

Anderson could not “do an end run around § 80E.14’s restrictions by

relying on” other sections of the MVSDA. Id.

     As to Anderson’s § 80E.13(k) claim, the court held that § 80.13(k)

prohibited modifications or replacement of a “franchise,” which is the

written agreement between the manufacturer and dealer. Id. Anderson,

however, did “not allege that Ford will be modifying a single word of

that agreement” and “therefore failed to plead a viable claim.” Id. As to

the § 80E.13(p) claim (for changing an “area of sales effectiveness”), the

court held that Ford’s change to Anderson’s Dealer Locality was distinct

from Ford’s approving a new dealership, and that only the former fell

within § 80E.13(p)’s prohibition on “arbitrarily assigning or changing a

dealer’s area of sales effectiveness.”1 App. 359, R. Doc. 33, at 6.




1 The court did hold that Anderson plausibly alleged claims related to the

actual proposed modification of the Dealer Locality itself; i.e., the removal
of the census tracts. App. 359-360, R. Doc. 33, at 6-7. But because
Anderson has dismissed those claims (albeit with an intention to
reinstate them later, see supra at v) those rulings are not at issue.
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     Finally, the court held Anderson could not enjoin Ford’s approval

of a new dealership through the off-topic provisions of §80E.13(k) or (p),

contrary to § 80E.14’s specific provision for enjoining new dealerships.

App. 361, R. Doc. 33, at 8. It noted the “bizarre” outcome that would

result if the statute was interpreted otherwise, like giving dealers more

power to block new dealerships outside § 80E.14’s 10-mile enforcement

area than within it. Id. The court reasoned that reading the MVSDA as

Anderson demanded would “do violence to the scheme prescribed by the

Minnesota Legislature after balancing the interests of manufacturers,

dealers, and consumers.” Id.

     The Court thus granted Ford’s motion to dismiss to the extent

Anderson sought injunctive or other relief related to the establishment

of a new dealership, but denied the motion otherwise. App. 362, R. Doc.

33, at 9. A week later, Anderson’s counsel told Ford’s counsel that it

“intends to file a Rule 54(b) motion for the entry of final judgment on”

the dismissed claims, and sought Ford’s concurrence. App. 432. Ford

declined to concur. App. 431. Anderson then scheduled a hearing on its

Rule 54(b) motion for January 23, 2024. App. 430.




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     Before the hearing occurred, however, the case was reassigned

from Judge Patrick J. Schiltz to newly-appointed Judge Jeffrey M.

Bryan. App. 5, R. Doc. 35 (text-only). As a result, the scheduled hearing

on the Rule 54(b) motion was cancelled. Id. Rather than notice a new

hearing, Anderson sought dismissal without prejudice of the remaining

claims. App. 379, R. Doc. 36. The district court dismissed the remaining

claims on January 30, 2024 and entered judgment on January 31, 2024.

App. 382-383, R. Doc. 38, 39. A little over two hours after judgment was

entered, Anderson filed a notice of appeal. App. 384, R. Doc. 40.

     Ford moved to dismiss the appeal on jurisdictional grounds for

lack of finality, citing Anderson’s attempt to evade the procedures of

Rule 54(b) by voluntarily dismissing its remaining claims while

intending to re-file those claims after appeal. See supra at v. The Court

ordered that the merits panel would resolve the motion to dismiss. Id.

                       Summary of the Argument

     The MVSDA has a specific section addressing limitations on a

manufacturer’s ability to establish new dealerships and imposes those

limitations only within a 10-mile radius of an existing dealership.

Plaintiff-Appellant Anderson wishes to challenge Ford’s approval of a


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new dealership more than 10 miles away from it; it is thus ineligible for

relief under the MVSDA’s relevant provision. So instead, Anderson

sought to block Ford’s new dealership with claims under two off-topic

provisions of the MVSDA concerning manufacturer changes to a

dealer’s contract and a dealer’s geographic “area of responsibility.”

     The district court dismissed Anderson’s complaint insofar as it

sought to challenge Ford’s new-dealership decision under these off-topic

provisions. It first held that Anderson had not pled facts that plausibly

set forth a claim for relief under the off-topic provisions, because Ford’s

approval of a new dealership (1) did not require a change in its contract

with Anderson; and (2) did not require a change in Anderson’s area of

responsibility. It then held that Anderson could not, in any event, rely

on off-topic provisions of the MVSDA to circumvent the statute’s specific

provision addressing limitations on new dealerships. The district court

was correct on both fronts.

     1.    Failure to state a claim under the off-topic statutes.

On the “change to the contract” theory, Anderson’s own pleadings (and

documents attached to the same) confirm that the parties’ contract

expressly allows Ford to approve new dealerships more than 10 miles


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away from Anderson without notice. And Anderson did not allege that

Ford needed to (or did) change the Ford-Anderson contract to approve

the new dealership.

      As to the “area of responsibility” theory, Ford’s decision to approve

a new dealership was distinct from any decision to change the “area of

responsibility.” Anderson argues on appeal that Ford’s approval of a

new dealership necessarily requires Ford to change the geographic area

of responsibility, but the parties’ contract itself states just the opposite:

multiple dealerships can share the same area of responsibility. The

record confirms the district court’s holding that Ford’s decision to

approve a new dealership is a distinct act from its change to an area of

sales effectiveness, and that Anderson did not plausibly state a claim

for relief against the new-dealership decision based on any distinct

decision to change Anderson’s area of responsibility.

      2.    Anderson’s improper circumvention of the MVSDA.

Well-established law provides that when one portion of a comprehensive

remedial scheme addresses a specific problem with specific solutions,

that specific provision controls over other, off-topic provisions of the

same statute. The district court held, consistent with this principle, that


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Anderson could not circumvent the carefully crafted procedures of the

MVSDA limiting the establishment of new dealerships by resort to

other provisions of the act not directed at that issue. The district court’s

decision aligns with the other state courts that have addressed this

specific fact pattern under their states’ equivalent to the MVSDA.

                               Introduction

     Anderson’s brief contains subtle but intentional omissions: it

never uses the words “injunction,” “enjoin,” or any variant thereof. By so

doing, it refuses to acknowledge the actual legal question at issue. The

district court specifically held that Anderson has no legal grounds to

block Ford from approving a new dealership in Forest Lake, Minnesota.

This is because § 80E.14 of the Minnesota Motor Vehicle Sale and

Distribution Act (“MVSDA”) specifically addresses “Limitations on

establishing… dealerships,” but it applies only to (1) new dealerships

within 10 miles of an existing dealership; and (2) by a lawsuit filed

within 30 days of receiving notice. Here, Anderson wants to block a new

dealership that is more than 10 miles away, and it sued 90 days after

receiving notice. Anderson undisputedly cannot enjoin Ford’s dealership

under § 80E.14, and so did not bring a § 80E.14 claim in its lawsuit.


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      The primary question presented is whether Anderson may end-

run § 80E.14’s provisions through off-topic provisions of a different

section of the MVSDA addressing modifications to a dealer’s contract,

and changes to a dealer’s geographic area of sales effectiveness—in

effect, obtaining relief the Minnesota Legislature declined to provide in

the specific section of the law addressing limitations on new

dealerships. The district court logically, and correctly, held it could not.

Anderson’s decision to approve a new dealership was distinct from

proposed changes to Anderson’s area of sales effectiveness, and thus fell

outside the actual terms of the two off-topic statutory provisions

Anderson relies on. And, in any event, those off-topic statutory

provisions cannot be read to permit injunctive or other relief against a

manufacturer’s establishment of a new dealerships contrary to the

specific provisions of the MVSDA dealing with that topic.

                            Standard of Review

      This court reviews a district court’s grant of a motion to dismiss de

novo. Cox v. Mortg. Elec. Registration Sys., Inc., 685 F.3d 663, 668 (8th

Cir. 2012). A plaintiff’s complaint must allege enough facts that, if true,

“state a claim to relief that is plausible on its face.” Id. (internal


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quotation marks omitted). A claim is facially plausible when its factual

content “allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. In so determining,

this court will consider “only the materials that are necessarily

embraced by the pleadings and exhibits attached to the complaint.” K.T.

v. Culver-Stockton Coll., 865 F.3d 1054, 1057 (8th Cir. 2017).

                                 Argument

      The district court’s dismissal relied on two grounds: (1) Anderson

did not allege facts that supported relief with respect to Ford’s decision

to open a new dealership under the plain language of § 80E.13(k) and

(p); and (2) the MVSDA’s specific enumeration of when a party could

enjoin the opening of a new dealership in § 80E.14—relief Anderson did

not seek and was not eligible for—precluded Anderson from obtaining

that relief from the off-topic provisions of § 80E.13. The district court

was correct on both fronts.

 I.   The district court correctly held that Anderson did not
      allege facts that would support a claim under § 80E.13(k) or
      (p) related to Ford’s approving a new dealership.

      Anderson’s brief mainly challenges the district court’s statutory

interpretation ruling giving effect to the Legislature’s specific judgment

on when new-dealership decisions can be restricted. But it scarcely
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addresses the district court’s initial holding: Anderson’s allegations do

not fit within the two off-topic statutory provisions its complaint relies

on. And with good reason. The first statutory subsection Anderson

relies on prohibits a manufacturer from modifying certain contractual

language, but Ford’s ability to approve new dealers required no changes

to Ford’s contract with Anderson—including the “Dealer’s Locality”

provision at issue. The second statutory subsection addresses changes

to a dealer’s area of responsibility. Here, that is the Dealer’s Locality,

and (again) Ford need not change the Dealer’s Locality to approve a

new dealership. Anderson is trying to fit a square peg in a round hole.

This Court could affirm the district court on this basis alone.

     A.    Anderson has not plausibly alleged that Ford changed
           its “franchise” (i.e., the Sales and Service Agreement)
           with Anderson by approving a new dealership.

     The district court correctly held that Anderson did not state a

claim under § 80E.13(k) with respect to the new-dealership decision.

This provision makes it an “unlawful and an unfair practice” to:

     threaten to modify or replace or modify or replace a franchise
     with a succeeding franchise that would adversely alter the
     rights or obligations of a new motor vehicle dealer under an
     existing franchise or that substantially impairs the sales or
     service obligations or investments of the motor vehicle dealer;


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Id. The “franchise” is defined as “the written agreement or contract

between” the dealer and the manufacturer fixing their legal rights. Minn.

Stat. § 80E.03(8). Anderson conceded to the district court that the

“franchise” here is the Sales and Service Agreement attached to

Anderson’s Complaint. See App. 392.

     So understood, the district court correctly held that Anderson did

not allege that Ford made any change to the “franchise” by deciding to

open a new dealership. See App. 358-59. Rather, Anderson (1) complains

its Dealer’s Locality is being changed by removal of census tracts; and (2)

believes Ford intends to assign those tracts to a new dealership. App. 355.

     The district court held that Anderson plausibly alleged that Ford

modified the Dealer’s Locality by removing census tracts, and therefore

stated a claim for relief under § 80E.13(k). App. 359. That decision is

not before this Court on appeal, as Anderson dismissed the claim.

     But the district court also held that Ford’s changing the Dealer’s

Locality is different from Ford approving a new dealership. App. 358-59.

The Dealer’s Locality is merely the territory against which a dealer’s

performance is measured. Supra at 2. It does not limit the customers a

dealer may sell to, and it might be shared by more than one dealer. Id.


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A different section of the “franchise” specifies that Ford can “appoint

additional dealers… within or without the Dealer’s Locality,” and

without notice to Anderson for new dealerships more than 10 miles

from Anderson. Supra at 2-3. Thus, as the district court correctly

observed, Ford’s decision to approve a new dealership does not itself

require “modifying a single word of” the parties’ “franchise.” App. 359.

     Nor does Anderson’s complaint plead any facts indicating that

Ford had to change the “franchise” to approve a new dealer. To the

contrary, Anderson alleges that Ford made the decision on its own, and

that it only deduced that Ford approved a new dealership through a

review of Forest Lake municipal records. See App. 16-17, R. Doc. 1-1, ¶¶

21-22. Anderson’s appellate brief does not meaningfully address this

reasoning. Instead, it conflates the Dealer’s Locality and new-dealership

decisions and claims the district court “assum[ed]” without explanation

that the two were distinct acts. Appellant’s Br. 31-32, 34-35. In fact,

Anderson’s counsel conceded at argument that Ford had “carte blanche”

to establish new dealerships, App. 397, and agreed that “nothing

expressly is being modified or changed” in the “franchise” with respect

to the new-dealership decision. App. 398-99.


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     Anderson’s complaint claimed two distinct alleged wrongs: (1) a

change to the Dealer’s Locality, which allegedly required changing the

Ford-Anderson contract; and (2) Ford’s approval of a new dealership,

which did not modify any contractual language at all. Anderson had—

but abandoned—a potential remedy for the first claim. But it has not

plausibly alleged that Ford modified a “franchise” when it approved a

new dealership. The district court correctly dismissed that claim.

     B.    Anderson did not plausibly allege that Ford’s decision
           to approve a new dealership was a modification of
           Anderson’s “area of sales effectiveness.”

     The district court also correctly held Anderson did not state a

claim for violating § 80E.13(p) over Ford’s new-dealership decision.

That section states that it is an unfair practice to “assign or change a

dealer’s area of sales effectiveness arbitrarily or without due regard to

the present pattern of motor vehicle sales and registrations within the

dealer’s market.” Id. The “area of sales effectiveness” is defined as the

“geographic area designated in a franchise agreement or related

document where a new motor vehicle dealer is responsible for effectively

selling, servicing, and otherwise representing the products of the

manufacturer, distributor, or factory branch.” § 80E.03(10)(b). Anderson


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concedes the Dealer’s Locality is the “area of sales effectiveness” under

the Agreement. App. 25, R. Doc. 1-1, at 18 ¶ 60; App. 395.

     As with the § 80E.13(k) claim, Anderson ignores that § 80E.13(p)

prohibits changes to a dealer’s area of sales effectiveness—here, the

Dealer’s Locality. As the district court held, Ford’s approval of a new

dealership itself does not require or reflect a modification of a Dealer’s

Locality. And Anderson did not plead facts claiming otherwise. Instead,

it alleges that Ford assigned certain census tracts to Anderson in

writing, and then announced it would change those census tracts going

forward. App. 16-18, R. Doc. 1-1, at 9-11 ¶¶ 21-25. Anderson’s appellate

brief now argues that adding a new dealership requires a change in the

Dealer’s Locality (Br. at 33-34) but that is belied by the Agreement that

Anderson attached to its Complaint. As discussed, the Agreement

contemplates that multiple dealerships can share a Dealer’s Locality.

Supra at 2. Thus, Ford’s decision to approve a new dealership did not

require a change in any geographical area of sales effectiveness; that

was a distinct act. The district court’s ruling that Anderson failed to

state a claim under the plain text of §80E.13(p) should be affirmed.




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II.   The district court correctly held that Anderson may not
      evade the MVSDA’s specific provisions regarding enjoining
      new dealerships in § 80E.14 through resort to § 80E.13.

      Section 80E.14 of the MVSDA specifically addresses “limitations

on establishing or relocating dealerships.” It sets forth a detailed set of

procedures and substantive standards for determining when a

manufacturer may do so. Id. But its provisions apply only within a

“radius of ten miles” around an existing dealership, and a party

challenging a new dealership must sue within 30 days of receiving

notice. Id. § 80E.13(1). Here, Anderson challenges Ford’s approval of a

new dealership more than 10 miles away, with a lawsuit filed February

28, 2023—more than 30 days after it alleges it received notice on

December 2, 2022. App. 16, R. Doc. 1-1, at 9 ¶ 21. It does not (and

cannot) seek relief under § 80E.14. App. 358. Given this, the district

court correctly held that Anderson may not evade the legislature’s

carefully crafted statutory scheme and its specific process for

challenging new dealerships by using off-topic MVSDA provisions.

      C.   Minnesota has long held that specific provisions
           control in a comprehensive statutory scheme.

      It is a “well settled” principle of law that “specific terms covering

the given subject matter will prevail over general language of the same

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or another statute which might otherwise prove controlling.” Connexus

Energy v. Comm’r of Revenue, 868 N.W.2d 234, 242–43 (Minn. 2015).

This principal “often applies in situations in which the general and the

specific provisions exist side by side, and the two are interrelated and

closely positioned, both in fact being parts of the same statutory

scheme.” Id. (cleaned up) (quoting RadLAX Gateway Hotel v. Amalg.

Bank, 566 U.S. 639 (2012) & HCSC–Laundry v. United States, 450 U.S.

1 (1981)). It “has particular applicability when, as here, the Legislature

has enacted a comprehensive scheme and has deliberately targeted

specific problems with specific solutions.” Id. at 242 (cleaned up).

     In Connexus Energy, the state tax commission used its general

assessment authority (with a 3 ½ year statute of limitations) to recover

an excess sales tax refund from the petitioners. Id. at 236-37. The

Minnesota Supreme Court agreed that the lawsuit fell within the

language of the general-assessment portion of that statute. Id. at 242.

However, there was a specific code section related to actions regarding

recovery of excess sales tax refunds—and the statute of limitations for a

claim under that section had expired. Id. Thus, despite the facial

applicability of the general assessment portion of the statute, both the


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general and specific provisions were “part of a comprehensive scheme

regulating the administration of, and compliance with, the Minnesota

tax code.” Id. The provision regarding sales tax refunds was a specific

problem with a specific solution, and so the specific provision had to be

followed in lawsuits involving that subject matter. Id. at 243.

     Similarly, in Koehnen v. Flagship Marine Co., 947 N.W.2d 448

(Minn. 2020), a chiropractor sought reimbursement of medical expenses

under a section of the worker’s compensation statute allowing petitions

raising a “dispute as to a question of law or fact” on compensation. Id.

at 452. Another part of the statute specified procedures by which health

care providers could seek reimbursement, but the chiropractor had not

followed them. Id. The court—noting that both provisions were part of a

comprehensive statutory scheme—held that the statute’s creation of

specific mechanisms for health care providers to recover payments was

exclusive, and controlled over the off-topic provisions. Id. at 454-55.

     The principles of Connexus and Koehnen control here.2 The

MVSDA is a comprehensive statutory scheme directed at preventing



2 Anderson’s brief ignores the Koehnen line of authority, despite it being

raised in Ford’s briefing in the district court. See App. 131-132. Instead,

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abusive practices by manufacturers. Minn. Stat. § 80E.01 (stating

legislative purpose and intent). Section 80E.14 is a specific statutory

provision addressing a specific issue: “Limitations on establishing or

relocating dealerships.” It permits injunctions against approval of new

dealerships within a 10-mile radius of existing dealerships, upon a suit

by an existing dealer within a 30-day statute of limitations. See id. It

permits a new dealership only upon a manufacturer’s showing of good

cause, sets forth detailed factors a court must consider in determining

whether good cause for a new dealership exists, and requires an

expedited resolution. Id. By contrast, § 80E.13(p) and (k) are in a

separate section of the MVSDA, and address different topics: changes to

dealer contracts and dealer areas of responsibility.

     Thus, even if § 80E.13(p) or (k) could be read to include Ford’s

decision to approve of a new dealership—and, as discussed, they



it cites Daniel v. City of Minneapolis, 923 N.W.2d 637 (Minn. 2019) for
the proposition that an exclusive remedy in one statutory scheme (for
workplace injuries) did not override a different exclusive remedy in a
different statutory scheme (a civil rights statute.) Appellant’s Br. 23-24.
But Koehnen, as here, involved different parts of the same statutory
scheme—ironically, the same worker’s compensation statute at issue in
Daniel. Given that Anderson is trying to circumvent specific
requirements of the MVSDA with other non-specific provisions of the
MVSDA, Koehnen controls the analysis here.
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cannot—the specific provisions applicable to challenging the

establishment of dealerships under § 80E.14 must control over the off-

topic provisions of § 80E.13. The legislature determined, in § 80E.14,

that the MVSDA would only regulate a manufacturer’s free-market

ability to approve new dealerships in a limited geographic area. It gave

dealers only 30 days to challenge new dealership decisions. It set forth a

detailed nine-factor test to govern when a new dealership would be

allowed. And it required an expedited decision.

     That specific provision controls over § 80E.13, a provision that

does not address challenges to new dealerships, and which does not

contain § 80E.14’s procedural and substantive requirements. As the

district court found, to hold otherwise “would do violence to the scheme

prescribed by the Minnesota Legislature after balancing the interests of

manufacturers, dealers, and consumers.” App. 361. The legislature’s

expressed intent in § 80E.14 to allow challenges to new dealers within

10 miles of existing dealerships would be nullified, and its procedures a

dead letter. Instead, existing dealerships could sue to block new

dealership decisions inside or outside the 10-mile radius, without

complying with § 80E.14’s 30-day statute of limitations. And rather


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than being assured that they could approve new dealerships guided by

the Legislature’s detailed, multi-factored list in § 80E.14(2) defining

“good cause,” manufacturers would face ill-defined, slow, and nebulous

challenges of “unfairness” by dealers—like Anderson—whose primary

concern is a desire to avoid free-market competition.

     Even if Anderson claimed that § 80E.14 exclusively applies if the

new dealership was within the 10-mile radius of that statute, but that§

80E.13 applied outside the 10-mile radius, that would lead to bizarre

results. The Legislature thought existing dealerships might be harmed

by the opening of a new, nearby dealership, but ensured that a

manufacturer could do so if it showed “good cause,” in expedited

proceedings. But it did not conclude that “good cause” was needed for

new competition farther away. It makes no sense that the Legislature

would allow dealers like Anderson more power under the MVSDA to

challenge dealerships that are farther away, regardless of “good cause,”

and with a much longer statute of limitations (90 days under § 80E.13

versus § 80E.14’s 30-days). This would allow existing dealers to drag

out proceedings against faraway dealerships under a nebulous standard

of relief, rather than well-defined and speedy standards for nearby new


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dealers. That is not how a comprehensive statutory scheme should be

interpreted. The Court should not accept Anderson’s invitation to do so.

     D.    The district court’s opinion aligns with other state
           courts addressing the precise issue here.

     While the Minnesota courts have not specifically addressed the

interplay between the specific § 80E.14 new-dealership provisions and

the non-specific provisions of § 80E.13, courts of other states with

statutes like the MVSDA have held that specific provisions governing

challenges to new dealerships, like § 80E.14, are the exclusive vehicles

for such challenges and may not be circumvented by resort to other,

non-specific statutory provisions.

     For instance, in Parktown Imports Inc. v Audi of America, Inc.,

278 S.W.3d 670 (Mo. 2009), a dealer tried to block a new dealership by

claiming it violated that state’s Motor Vehicle Franchise Practices Act,

which prohibited “capricious, in bad faith, or unconscionable” practices

by a manufacturer. Id. at 672. The statute, however, had a specific

provision addressing challenges to the establishment of new dealers,

but it only applied within a 6-mile radius, while the dealership being

challenged was 10 miles away. Id. at 673. The Missouri Supreme Court

held that the specific statutory provision controlled, as it reflected the

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legislature’s intent to regulate new dealerships within 6 miles, but

otherwise allow “the open market to govern itself.” Id.

     Likewise, in American Honda Motor Co. v. Bernardi’s, Inc., 735

N.E.2d 348 (Mass. 2000), an existing dealer tried to block a new

dealership under a provision of the state’s vehicle dealer law prohibiting

“any action which is arbitrary, in bad faith, or unconscionable.” Id. at

355. The statute had a specific provision addressing challenges to the

establishment of new dealerships, limited to a specific geographic area

around the existing dealer. Id. The Massachusetts Supreme Judicial

Court held that the specific provision controlled and that the dealer

could not use the off-topic statute to evade the geographical limit. Id. To

hold otherwise “would undermine and essentially nullify the statute,”

including the “legislative determination that only dealers… in certain

proximity to the prospective new dealership” may “challenge and

potentially prevent new competition.” Id. at 355-56.

     Apart from these two state supreme courts, several lower courts in

other jurisdictions have reached the same conclusion about their states’

equivalents to the MVSDA. Specific provisions of a statute addressing

challenges to the establishment of new dealerships are the exclusive


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grounds for new-dealership challenges. See JJM Sunrise Auto. LLC v.

Volkswagen Group of Am., 997 N.Y.S. 270, 280 (Nassau County Sup. Ct.

2014) (rejecting attempt to block new dealers with off-topic provisions

rather than the specific provision applicable to the establishment of new

dealerships, holding that this “would render meaningless the relevant

market area limitation in the Dealer Act and the cause of action that it

creates.”); Luxury Autos of Huntington, Inc. v. Volkswagen Group of

Am., Inc., 2015 WL 9998814, *7 (Nassau County Sup. Ct. 2015) (same);

Don Simmons, Inc. v. Subaru of Am., Index No. 2017-1930 (Chemung

County Sup. Ct., Mar. 15, 2018) (same) (reproduced at App. 139-145).

     By contrast, Anderson does not cite a single case holding that a

party can block approval of a new dealership under § 80E.13 when that

relief is unavailable under § 80E.14. It first cites North Star Int’l Trucks

v. Navistar Inc., 2013 WL 1392939, at *9 (Minn. Ct. App. Apr. 8, 2013),

but that case did not involve the issue before this Court. Instead, in

North Star, the court found that plaintiff had properly brought different

claims—including Count III under § 80E.13(k) for “removing… 51 zip

codes” from its dealer’s locality, id. at *3-4, and Count VII under §

80E.14 because the manufacturer “approved [the] establishment of


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additional locations … within ten miles of” the existing dealer’s

locations, id. at *9. These were two distinct claims, for distinct acts

(removing tracts and establishing new dealerships within 10 miles),

both of which fell within the respective statutory language.3

     Anderson also cites Shakopee Chevrolet, which did not involve a

challenge to the establishment of a new dealership at all, and thus did

not involve the question presented here. Shakopee Chevrolet Inc. v. Gen.

Motors LLC, 2021 WL 1785229, at *4 (D. Minn. May 5, 2021). Anderson

faults the district court for not “considering or addressing” these cases

(Appellant’s Br. at 28, 30). In fact, the district court acknowledged both

cases at argument, stating that it did not believe either case contained a

relevant, detailed analysis of the issues at hand. App. 393.

     Ultimately, Ford’s authorities all support the district court’s

reasoning and adhere to the well-established background principles of

statutory interpretation cited above. Like the statutes in Parktown,

American Honda, Luxury Autos, Simmons, and JJM Sunrise, § 80E.14

of the MVSDA (1) specifically addresses challenges to new dealerships;


3Thus, if anything, Navistar supports the district court’s reasoning that

Ford’s removal of census tracts and its approval of a new dealership are
distinct acts, each implicating distinct statutory provisions. Supra at 5.
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(2) outlines a specific challenge procedure; and (3) limits these

challenges to a certain geographical area around existing dealers. If

these specific provisions are not given exclusive effect, § 80E.14 would

be a nullity, including the Legislature’s decision to limit the free market

only in a 10-mile radius around existing dealers. If Anderson wants the

power to challenge new dealerships that are more than 10 miles away

from its dealership, that is an issue it should address with the

Legislature; it should not be achieved through attempts at creating

loopholes in a comprehensive regulatory scheme.

                                Conclusion

     Ford Motor Company asks this Court to dismiss Anderson’s

appeal for lack of jurisdiction. If the Court does not dismiss for lack of

jurisdiction, the Court should affirm the district court’s holding.

                                        Respectfully submitted,

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      Certificate of Compliance with Type-Volume Limit,
     Typeface Requirements, Type Style Requirements, and
       Statement Regarding Electronic Version of Brief

     1.    This motion complies with the type-volume limitation of

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     3.    Pursuant to 8th Circuit Local Rule 28A(h)(2), the electronic

version of the brief has been scanned for viruses and is virus-free.

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                            Certificate of Service

      I hereby certify that on May 16, 2024, I electronically filed the
foregoing with the Clerk of the Court using the ECF system which will
send notification of such filing to all counsel of record.


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